






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00529-CV






American Contractors Indemnity Company, d/b/a Texas Bonding Company, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT

NO. 10-376-C277, HONORABLE KEN ANDERSON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		The parties have filed a joint motion to dismiss appeal pursuant to Tex. R. App. P.
42.1(a)(2)(B).  They represent that they have reached a Rule 11 agreement to settle this matter and
request that we set aside the trial court's judgment without regard to the merits and remand the case
to the trial court for rendition of judgment in accordance with the agreement.  We grant the motion,
set aside the trial court's judgment without regard to the merits, and remand this cause to the trial
court for rendition of judgment in accordance with the parties' agreement. See Tex. R. App. P.
42.1(a)(2)(B).



						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Vacated and Remanded on Joint Motion

Filed:   April 22, 2011


